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 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     JOSE GILBERTO LOPEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,       )       No. 2:12-cr-00370 MCE
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER VACATING
13        v.                         )       DATE, CONTINUING CASE, AND
                                     )       EXCLUDING TIME
14   Jose Gilberto Lopez,            )
                    Defendant.       )
15                                   )       Date   September 12, 2013
     _______________________________ )       Time: 9:00 a.m.
16                                   )       Judge: Hon. England
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Olusere Olowoyeye, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant Jose Gilberto Lopez; that the status
21   conference scheduled for August 8, 2013, be vacated and the matter be
22   continued to this Court's criminal calendar on September 12, 2013,at
23   9:00 a.m. for further status/possible change of plea.
24        This continuance is requested by the defense in order to conduct
25   investigation in the case and to continue to negotiate a plea agreement
26   with the Government.
27        The parties further stipulate and agree that the Court shall find
28   that:   (1) the failure to grant a continuance in this case would deny
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 1   defendant and defense counsel reasonable time necessary for effective
 2   preparation, taking into account the exercise of due diligence; (2) the
 3   ends of justice to be served by granting the requested continuance
 4   outweigh the best interests of the public and the defendant in a speedy
 5   trial; and (3) the time period from the date of this stipulation, to
 6   and including, the new status conference hearing shall be excluded from
 7   computation of time within which the trial of this case must be
 8   commenced under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and
 9   (B)(iv), and Local Code T4 pertaining to defense preparation.
10         It is further stipulated that all parties have conferred and
11   agreed to the September 12,2013 date, and that all parties have
12   consented to Ms. Santos signing and submitting this stipulation.
13
14         IT IS SO STIPULATED.
15
16   Dated: August 6, 2013                    /S/ Dina L. Santos
                                             DINA L. SANTOS
17                                           Attorney for
                                             Jose Gilberto Lopez
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     Dated: August 6, 2013                    /S/ Olusere Olowoyeye
21                                           OLUSERE OLOWOYEYE
                                             Assistant United States Attorney
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     Stipulation and Order                   2
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                                        O R D E R
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              IT IS SO FOUND AND ORDERED.        The time period from the date of
 3
     the parties’ stipulation to and including September 12, 2013, is
 4
     excluded from computation of time within which the trial of this case
 5
     must be commenced under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A)
 6
     and (B)(iv), and Local Code T4.       The status conference currently set
 7
     for August 8, 2013, is hereby vacated and continued to September 12,
 8
     2013, at 9 a.m. in Courtroom 7.       The Court finds that the ends of
 9
     justice to be served by granting the requested continuance outweigh the
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     best interests of the public and the defendant in a speedy trial.
11
           IT IS SO ORDERED.
12
13   Date: August 07, 2013
14   _____________________________________
                                  _____________________________________________
15                                MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT
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     Stipulation and Order                   3
